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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 Charlene Simmons,                                               Civ. Action #:

                                        Plaintiff,               Complaint
               -v-
                                                                 Date Filed:
 Trans Express Inc.,
                                                                 Jury Trial Demanded
                                  Defendant.

       Plaintiff Charlene Simmons (“Plaintiff,” or “Simmons”), by Abdul Hassan Law Group,
PLLC, her attorneys, complaining of the Defendant Trans Express Inc. (“Defendant” or “Trans
Express”) respectfully alleges as follows:


                                  NATURE OF THE ACTION
1. Plaintiff alleges that she was employed by Defendant and pursuant to the Fair Labor
   Standards Act ("FLSA"), 29 U.S.C. § 216 (b), she is: (i) entitled to unpaid wages from
   Defendant for working more than forty hours in a week and not being paid an overtime rate
   of at least 1.5 times the regular rate for all such hours over forty in a week; and (ii) entitled to
   maximum liquidated damages and attorneys' fees pursuant to the Fair Labor Standards Act,
   29 U.S.C. § 201 et seq. including 29 U.S.C § 216(b).


2. Plaintiff complains pursuant to the New York Labor Law, that she is: (i) entitled to unpaid
   overtime wages from Defendant for working more than forty hours in a week and not being
   paid an overtime rate of at least 1.5 times her regular rate and 1.5 times the NYS minimum
   wage rate for all such hours over forty in a week, and (ii) entitled to maximum liquidated
   damages – including liquidated damages on all wages paid later than weekly, costs and
   attorney's fees, pursuant to the New York Minimum Wage Act ("NYMWA"), N.Y. Lab. Law
   §§ 650 et seq., ("NYLL") including NYLL § 663, and the regulation there under - 12
   NYCRR § 142-2.2.

3. Plaintiff is also entitled to recover her unpaid wages, and wage deductions, under Article 6 of
   the New York Labor Law including sections 191, 193, 198, compensation for not receiving


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   notices and statements required by NYLL 195, under Article 6 of the New York Labor Law
   and is also entitled to maximum liquidated damages – including liquidated damages on all
   wages paid later than weekly, and attorneys’ fees pursuant to Section 198 of the New York
   Labor Law.

                                  JURISDICTION AND VENUE
4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337, and
   supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. In
   addition, the Court has jurisdiction over Plaintiff’s claims under the Fair Labor Standards Act
   pursuant to 29 U.S.C. § 216 (b).


5. Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. § 1391(b) and/or
   29 U.S.C. § 216 (b).

6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and
   2202.


                                        THE PARTIES

7. Plaintiff Charlene Simmons (“Plaintiff” or “Simmons”) is an adult, over eighteen years old,
   who currently resides in Queens County in the State of New York.


8. Upon information and belief and at all times relevant herein, Defendant was a New York
   corporation with its offices located in Kings County, New York at 150 Conover St,
   Brooklyn, NY 11231, where Plaintiff was employed.

                                  STATEMENT OF FACTS
9. Upon information and belief, and at all relevant times herein, Defendant was engaged in
   providing transportation services. See http://www.durhamschoolservices.com/


10. Upon information and belief, and at all relevant times herein, Defendant operated at several
   locations and employed approximately hundreds of employees in New York State.



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11. At all times relevant herein, Plaintiff was employed by Defendant as a driver and she
   performed all physical and repetitive tasks within this capacity including assisting
   passengers, lifting/packing/moving items and operating a motor vehicle throughout her
   workday in Queens County, New York.

12. Plaintiff Simmons was employed by Defendant from in or around April 2012 to in or around
   April 2013 and then from in or around June 2016 to on or about June 18, 2018.

13. At all times relevant herein, Plaintiff was paid at a regular rate of about $12.50 an hour.

14. At all times relevant herein, Plaintiff worked approximately 60-84 hours each week for
   Defendant; 5-7 days a week and was paid at her straight regular rate of all hours worked
   including overtime hours worked (hours over 40 in a week).

15. A more precise statement of the hours and wages will be made when Plaintiff Simmons
   obtains the wage and time records Defendant was required to keep under the FLSA and
   NYLL. Accurate copies of Plaintiff’s wage and time records that Defendant was required to
   keep pursuant to 29 USC 211, 29 CFR 516 and NYLL 195, 12 NYCRR 142.2-6, are
   incorporated herein by reference.

16. At all times relevant herein, Defendant failed to pay Plaintiff at a rate of at least 1.5 times her
   regular rate and 1.5 times the NYS minimum wage rate for hours worked in excess of 40 in a
   week, for each week during the period of her employment with Defendant.

17. At all times relevant herein, Defendant paid Plaintiff on a bi-weekly basis in violation of
   NYLL 191 (1)(a)(i).

18. At all times relevant herein, Defendant did not provide Plaintiff with the notice(s) required
   by NYLL 195(1).




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19. At all times relevant herein, Defendant did not provide Plaintiff with the statement(s)
   required by NYLL 195(3) – the statements provided to Plaintiff did not contain the weekly
   hours worked by Plaintiff, nor Plaintiff’s regular and overtime rates of pay, among other
   deficiencies.


20. At all times relevant herein and for the time Plaintiff was employed by Defendant, Defendant
   failed and willfully failed to pay Plaintiff an overtime rate of at least 1.5 times her regular
   rate of pay for all hours worked in excess of forty hours each week.

21. Upon information and belief and at all times relevant herein, Defendant, had annual revenues
   from its operations of more than $500,000.

22. At all times applicable herein, Defendant conducted business with vendors and other
   businesses outside the State of New York.


23. At all times applicable herein and upon information and belief, Defendant conducted
   business in interstate commerce involving the purchase of materials, equipment, and
   supplies.


24. Upon information and belief, and at all times relevant herein, Defendant as a regular part of
   their business, make payment of taxes and other monies to agencies and entities outside the
   State of New York.

25. Defendant as a regular part of its business, engaged in credit card transactions involving
   banks and other institutions outside the state of New York, and in the stream of interstate
   commerce.


26. At all times applicable herein and upon information and belief, Defendant transacted
   business with insurance companies, banks and similar lending institutions outside the State of
   New York.


27. At all times applicable herein and upon information and belief, Defendant utilized the


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   instrumentalities of interstate commerce such as the United States mail, internet, electronic
   mail and telephone systems.

28. Upon information and belief, and at all relevant times herein, Defendant failed to display
   federal and state minimum wage/overtime posters.


29. Upon information and belief, and at all relevant times herein, Defendant failed to notify
   Plaintiff of her federal and state minimum wage and overtime rights and failed to inform
   Plaintiff that she could seek enforcement of such rights through the government enforcement
   agencies.


30. “Plaintiff” as used in this complaint refers to the named Plaintiff.


31. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.

                           AS AND FOR A FIRST CAUSE OF ACTION
        FAIR LABOR STANDARDS ACT - 29 U.S.C 201 et Seq. (Unpaid Overtime)
32. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 31
   above as if set forth fully and at length herein.


33. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning
   of the FLSA - 29 U.S.C 201 et Seq.

34. Upon information and belief, and at all times relevant to this action, Plaintiff was engaged in
   commerce and/or in the production of goods for commerce and/or defendants constituted an
   enterprise(s) engaged in commerce within the meaning of the FLSA including 29 U.S.C. §
   207.

35. Upon information and belief and at all times relevant herein, Defendant transacted commerce
   and business in excess of $500,000.00 annually or had revenues and/or expenditures in
   excess of $500,000.00 annually.



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36. At all times relevant herein, Defendant failed and willfully failed to pay Plaintiff overtime
   compensation at rates of at least 1.5 times her regular rate of pay for each and all hours
   worked in excess of forty hours in a work week, in violation of 29 U.S.C. § 207.


                                         Relief Demanded
37. Due to Defendant’s FLSA violations, Plaintiff is entitled to recover from Defendant, her
   unpaid overtime compensation, maximum liquidated damages, attorneys’ fees, and costs of
   the action, pursuant to 29 U.S.C. § 216(b).


                       AS AND FOR A SECOND CAUSE OF ACTION
                NYLL 650 et Seq. and 12 NYCRR 142-2.2 (Unpaid Overtime)
38. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 36
   above as if set forth fully and at length herein.


39. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning
   of the New York Labor Law, §§ 2 and 651 and the regulations thereunder including 12
   NYCRR § 142.

40. At all times relevant herein, Defendant failed to pay and willfully failed to pay Plaintiff and
   all those similarly-situated as class members, overtime compensation at rates not less than
   1.5 times his regular rate of pay, and 1.5 times the NYS minimum wage rate for each and all
   hours worked in excess of forty hours in a work week, in violation of the New York
   Minimum Wage Act and its implementing regulations. N.Y. Lab. Law §§ 650 et seq.; 12
   NYCRR § 142-2.2.


                                         Relief Demanded
41. Due to Defendant’s NYLL overtime violations, Plaintiff is entitled to recover from
   Defendant, her unpaid overtime wages, maximum liquidated damages – including maximum
   liquidated damages on overtime wages paid later than weekly, prejudgment interest,
   attorney's fees, and costs of the action, pursuant to NYLL § 663.



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                       AS AND FOR A THIRD CAUSE OF ACTION
                          (NYLL § 190, 191, 193, 195, and 198)
42. Plaintiff alleges and incorporates each and every allegation contained in paragraphs 1
   through 41 above with the same force and effect as if fully set forth at length herein.


43. At all times relevant to this action, Plaintiff was employed by Defendant within the meaning
   of the New York Labor law, §§ 190 et seq., including §§ 191, 193, 195, and 198 and the
   applicable regulations thereunder.

44. At all times relevant herein, Plaintiff was employed by Defendant as a manual worker within
   the meaning of NYLL 191 (1)(a)(i) who should have been paid all overtime and non-
   overtime wages no later than weekly.

45. At all relevant times herein, Defendant violated and willfully violated Plaintiff’s rights under
   NY Labor Law § 190 et seq. including NY Labor Law §§ 191, 193, 196 and 198 by failing to
   pay Plaintiff her wages, including her unpaid overtime wages, (FLSA and NYMWA), within
   the time required under NY Labor Law § 190 et seq.

46. At all times relevant herein, Defendant failed and willfully failed to provide Plaintiff, with
   the notice(s) required by NYLL 195(1) – Plaintiff is therefore entitled to and seek to recover
   in this action the maximum recovery for this violation, plus attorneys’ fees and costs
   pursuant to NYLL 198 including NYLL 198(1-b), as well as an injunction directing
   Defendant to comply with NYLL 195(1).

47. At all times relevant herein, Defendant failed and willfully failed to provide Plaintiff with
   the statement(s) required by NYLL 195(3) – Plaintiff is therefore entitled to and seeks to
   recover in this action the maximum recovery for this violation, plus attorneys’ fees and costs
   pursuant to NYLL 198 including NYLL 198(1-d), as well as an injunction directing
   Defendant to comply with NYLL 195(1).

                               Relief Demanded
48. Due to Defendant’s New York Labor Law Article 6 violations including violation of sections
   191, 193, and 198, Plaintiff is entitled to recover from Defendant, her entire unpaid wages,


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   including her unpaid overtime wages, maximum liquidated damages – including maximum
   liquidated damages on all wages paid later than weekly, prejudgment interest, maximum
   recovery for violations of NYLL 195(1) and NYLL 195(3), reasonable attorneys’ fees, and
   costs of the action, pursuant to N.Y. Labor Law § 190 et seq. including § 198.


                                    PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:
49. Declare Defendant (including its overtime and wage payment policy and practice as well as
   its wage deduction policy and practice), to be in violation of the rights of Plaintiff under the
   FLSA and New York Labor Law - 12 NYCRR § 142, and Article 6 of the NYLL, including
   NYLL §§ 191, 193, 195 and 198.

50. As to the First Cause of Action, award Plaintiff her unpaid overtime compensation due
   under the FLSA, together with maximum liquidated damages, costs and attorneys’ fees
   pursuant to 29 USC § 216(b);

51. As to the Second Cause of Action, award Plaintiff her unpaid overtime compensation due
   under the New York Minimum Wage Act and the regulations thereunder including 12
   NYCRR § 142-2.2, together with maximum liquidated damages – including maximum
   liquidated damages on overtime wages paid later than weekly, prejudgment interest, costs
   and attorney's fees pursuant to NYLL § 663;

52. As to the Third Cause of Action, award Plaintiff her entire unpaid wages, including her
   unpaid overtime wages, unlawful wage deductions, maximum liquidated damages- including
   maximum liquidated damages on all wages paid later than weekly, prejudgment interest,
   maximum recovery for violations of NYLL 195(1) and NYLL 195(3), reasonable attorney’s
   fees, and costs of the action, pursuant to N.Y. Labor Law § 190 et seq. including § 198, and
   issue an injunction directing Defendant to comply with NYLL 195(1) and NYLL 195(3).

53. Award Plaintiff, any relief requested or stated in the preceding paragraphs but which has not
   been requested in the WHEREFORE clause or "PRAYER FOR RELIEF", in addition to the
   relief requested in the wherefore clause/prayer for relief;



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54. Award Plaintiff further and different relief as the Court deems just and proper.


Dated: Queens Village, New York
        October 24, 2018


Respectfully submitted,

Abdul Hassan Law Group, PLLC

/s/ Abdul Hassan_____________
By: Abdul K. Hassan, Esq. (AH6510)
215-28 Hillside Avenue
Queens Village, NY 11427
Tel: 718-740-1000
Fax: 718-740-2000
Email: abdul@abdulhassan.com
Counsel for Plaintiff




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